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                   Exhibit 3
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                                        FIRM RÉSUMÉ


        Based in Miami, Florida, and with offices in San Francisco, California and Washington,
D.C., Hedin LLP represents consumers and investors in class actions in state and federal courts
nationwide. Our firm prosecutes difficult cases aimed at redressing injuries suffered by large,
diverse groups of people. Over the past six years alone, we have recovered hundreds of millions
of dollars and other meaningful relief for the consumers and investors we have had the privilege
to represent.




                                    Representative Matters


       Notable examples of our work on behalf of consumers include:

   •   Rivera, et al. v. Google LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty.) (class counsel in
       action alleging unauthorized collection of consumers’ biometric data in violation of state
       statute, negotiated $100 million all-cash non-reversionary settlement for class)

   •   Schreiber et al. v. Mayo Foundation for Medical Education & Research, No. 22-cv-00188
       (W.D. Mich.) (class counsel in action alleging unauthorized disclosure of consumers’
       purchase information in violation of state statute, negotiated $52.5 million all-cash non-
       reversionary settlement for class)

   •   Olsen, et al. v. ContextLogic Inc., No. 2019CH06737 (Ill. Cir. Ct. Jan. 7, 2020) (class
       counsel in action alleging nonconsensual transmission of text messages to consumers’
       telephones in violation of federal law, negotiated $16 million all-cash non-reversionary
       settlement for class)

   •   In re Everi Holdings, Inc. FACTA Litigation, No. 18CH15419 (Ill. Cir. Ct. Jan. 7, 2020)
       (class counsel in action alleging unauthorized printing of excess digits of consumer card
       numbers on transaction receipts in violation of federal law, negotiated $14 million all-cash
       non-reversionary settlement for class)




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   •   Owens, et al. v. Bank of America, N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel
       in action alleging improper overdraft fees in violation of state law, negotiated $4.95 million
       settlement for class)

   •   Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D. Va.) (class counsel in action
       alleging improper overdraft fees in violation of state law, negotiated $2.7 million
       settlement for class)

   •   Kokoszki v. Playboy Enterpises, Inc., No. 19-cv-10302 (E.D. Mich.) (class counsel in
       action alleging unauthorized disclosure of consumers’ purchase information in violation of
       state statute, negotiated $3.8 million all-cash non-reversionary settlement for class)

   •   Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D. Mich.) (class counsel in
       action alleging unauthorized disclosure of consumers’ purchase information in violation of
       state statute, negotiated $9.5 million all-cash non-reversionary settlement for class)

   •   Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120 (S.D. Fla.) (class counsel in action
       alleging nonconsensual transmission of text messages to consumers’ telephones in
       violation of federal law, negotiated $10 million all-cash non-reversionary settlement for
       class)

   •   Farnham v. Caribou Coffee Co., Inc., No. 16-cv-295 (W.D. Wisc.) (class counsel in action
       alleging nonconsensual transmission of text messages to consumers’ telephones in
       violation of federal law, negotiated $8.5 million all-cash non-reversionary settlement for
       class)

   •   Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (class counsel
       in action alleging unauthorized disclosure of consumers’ purchase information in violation
       of state statute, negotiated $9.5 million all-cash non-reversionary settlement for class)

   •   Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (class counsel
       in action alleging unauthorized disclosure of consumers’ purchase information in violation
       of state statute, negotiated $6.8 million all-cash non-reversionary settlement for class)

   •   Moeller v. The Week Publications, Inc., No. 22-cv-10666 (E.D. Mich.) (class counsel in
       action alleging unauthorized disclosure of consumers’ purchase information in violation of
       state statute, negotiated $5 million all-cash non-reversionary settlement for class)




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   •   Benbow v. SmileDirectClub, Inc., No. 2020-CH-07269 (Cir. Ct. Cook Cnty.) (class counsel
       in action alleging nonconsensual transmission of text messages to consumers’ telephones
       in violation of federal law, negotiated $11.5 million all-cash settlement for class)

       Notable examples of our work on behalf of investors include:

   •   In re Maxar Technologies Inc. Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct.,
       Santa Clara Cnty.) (class counsel in action alleging false and misleading statements to
       investors in violation of federal securities laws, negotiated $36.5 million all-cash non-
       reversionary settlement for class)

   •   Plymouth County Retirement System v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Sup.
       Ct., N.Y. Cnty.) (counsel in action alleging false and misleading statements to investors in
       violation of federal securities laws, negotiated $20 million all-cash non-reversionary
       settlement for class)

   •   In re Altice USA, Inc. Sec. Litig., No. 711788 (N.Y. Sup. Ct., Queens Cnty.) (counsel in
       action alleging false and misleading statements to investors in violation of federal securities
       laws, negotiated $4.75 million all-cash non-reversionary settlement for class)

   •   Plutte v. Sea Ltd., No. 655436/2018 (N.Y. Sup. Ct., N.Y. Cnty.) (counsel in action alleging
       false and misleading statements to investors in violation of federal securities laws,
       negotiated $10.75 million all-cash non-reversionary settlement for class)

   •   In re Menlo Therapeutics Inc. Sec. Litig., No. 18CIV06049 (Cal. Sup. Ct., San Mateo
       Cnty.) (counsel in action alleging false and misleading statements to investors in violation
       of federal securities laws, negotiated $9.5 million all-cash non-reversionary settlement for
       class)




                                      Attorney Biographies




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Frank S. Hedin

        Frank S. Hedin, founder of the firm, is a member in good standing of the Florida Bar and
the State Bar of California. Mr. Hedin received his Bachelor of Arts from University of Michigan
and Juris Doctor, magna cum laude, from Syracuse University College of Law. After graduating
from law school, he served for fifteen months as law clerk to the Honorable William Q. Hayes,
United States District Judge for the Southern District of California. Prior to establishing the firm,
Mr. Hedin was a partner at a litigation boutique in Miami, Florida, where he represented both
plaintiffs and defendants in consumer and data-privacy class actions, employment-related
collective actions, and patent and trademark litigation, and served as head of the firm’s class action
practice.


Arun G. Ravindran

        Arun G. Ravindran, a member in good standing of the Florida Bar and the New York State
Bar, is an accomplished trial lawyer who has tried more than twenty federal cases to jury
verdict. Mr. Ravindran received his Bachelor of Arts from Emory University, an Msc. from the
London School of Economics, and his Juris Doctor from Emory University School of Law. After
graduating from law school, he served as Captain and Judge Advocate in the United States Marine
Corps, after which he served for one year as law clerk to the Honorable Patricia A. Seitz, United
States District Judge for the Southern District of Florida. Following his clerkship, Mr. Ravindran
served for nearly five years as an Assistant Federal Public Defender in the Southern District of
Florida. Prior to joining Hedin LLP, Mr. Ravindran litigated commercial matters at a prominent
Florida law firm.


Elliot O. Jackson

       Elliot O. Jackson, a member in good standing of the Florida Bar and the New York State
Bar, received his Bachelor of Science, cum laude, from Fayetteville State University, his Juris
Doctor, cum laude, from Florida A&M University College of Law, and an L.L.M in fashion law
from Fordham University, where he graduated first in his class and received the Judy and Dennis
Kenny Award. Prior to joining the firm, Mr. Jackson served for two years as law clerk to the
Honorable Mary S. Scriven, United States District Judge for the Middle District of Florida.




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Tyler K. Somes

        Tyler K. Somes, a member in good standing of the State Bar of Texas and the District of
Columbia Bar, received his Bachelor of Arts from The George Washington University and Juris
Doctor, with honors, from The University of Texas School of Law. After graduating from law
school, Mr. Somes worked at a prominent national law firm for several years, where he litigated
complex antitrust, whistleblower, securities, and trade secrets matters. During a one-year hiatus
from his prior firm, Mr. Somes served as law clerk to the Honorable Richard Wesley of the United
States Court of Appeals for the Second Circuit.

Julie E. Holt

       Prior to joining Hedin LLP, Julie Holt served as an Assistant Federal Public Defender in
the Southern District of Florida for eight years. She is an experienced trial lawyer, having tried
approximately 30 jury trials and numerous bench trials. In addition to her trial practice, she also
represented clients on direct appeal, filing numerous petitions for writ of certiorari to the Supreme
Court and arguing in the Eleventh Circuit Court of Appeals. She obtained her J.D. from Yale Law
School in 2010, and her B.A. in Economics, summa cum laude, from Columbia University.




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